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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF MISSOURI
                      SOUTHEASTERN DIVISION

THE STATE OF MISSOURI,                   )
ex rel. ERIC S. SCHMITT, in his official )
capacity as Missouri Attorney General, )
                                         )
       Plaintiff,                        )
                                         )
v.                                       )        Case No. _____________
                                         )
THE PEOPLE’S REPUBLIC OF CHINA, )
THE COMMUNIST PARTY OF CHINA, )
NATIONAL HEALTH COMMISSION               )
OF THE PEOPLE’S REPUBLIC OF              )
CHINA, MINISTRY OF EMERGENCY )
MANAGEMENT OF THE PEOPLE’S               )
REPUBLIC OF CHINA, MINISTRY OF )
CIVIL AFFAIRS OF THE PEOPLE’S            )
REPUBLIC OF CHINA, PEOPLE’S              )
GOVERNMENT OF HUBEI                      )
PROVINCE, PEOPLE’S GOVERNMENT )
OF WUHAN CITY, WUHAN INSTITUTE)
OF VIROLOGY, and CHINESE                 )
ACADEMY OF SCIENCES,                     )
                                         )
       Defendants.                       )


                                 COMPLAINT

      Plaintiff State of Missouri, at the relation of Attorney General Eric S.

Schmitt, states the following:

                           NATURE OF THE ACTION

      1.    In this case, the State of Missouri seeks recovery for the enormous

loss of life, human suffering, and economic turmoil experienced by all
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Missourians from the COVID-19 pandemic that has disrupted the entire world.

An appalling campaign of deceit, concealment, misfeasance, and inaction by

Chinese authorities unleashed this pandemic. During the critical weeks of the

initial outbreak, Chinese authorities deceived the public, suppressed crucial

information, arrested whistleblowers, denied human-to-human transmission

in the face of mounting evidence, destroyed critical medical research,

permitted millions of people to be exposed to the virus, and even hoarded

personal protective equipment—thus causing a global pandemic that was

unnecessary and preventable. Defendants are responsible for the enormous

death, suffering, and economic losses they inflicted on the world, including

Missourians, and they should be held accountable.

     2.     Missouri faces an urgent public health crisis due to the COVID-19

pandemic.

     3.     As of April 20, 2020, Missouri had more than 5,800 confirmed

infections from COVID-19, and more than 177 Missourians had died, with

these numbers increasing on a daily basis.1




1 COVID-19 Outbreak, Missouri Department of Health and Senior Services

(Apr.             20,              2020),          available                   at:
https://health.mo.gov/living/healthcondiseases/communicable/novel-
coronavirus/.
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      4.     Missouri is not alone: the virus unleashed by the Communist Party

of China and the Chinese government has left no community in the world

untouched.

      5.     This COVID-19 pandemic is the direct result of a sinister

campaign of malfeasance and deception carried out by Defendants.

      6.     Defendants, in violation of their duties to the international

community, engaged in dangerous activities that imperiled the lives and

health of millions.

      7.     When their actions began to kill hundreds of thousands of people

across the globe, Defendants sought to minimize the consequences, engaging

in a coverup and misleading public relations campaign by censoring scientists,

ordering the destruction and suppression of valuable research, and refusing

cooperation with the global community, all in violation of international health

standards.

      8.     Defendants’ actions and inactions had profound effects in

Missouri. Literally every Missourian has been adversely affected by

Defendants’ course of conduct.

      9.     This civil action seeks to hold Defendants accountable for the

extraordinary public-health crisis that they created and to allow the State of

Missouri to recoup billions of dollars lost as a result of Defendants’ actions and

inactions.
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                                    PARTIES

      10.    Eric S. Schmitt is the Attorney General of Missouri (the “Attorney

General”).

      11.    Under Missouri law, “[t]he attorney general shall institute, in the

name and on the behalf of the state, all civil suits and other proceedings at law

or in equity requisite or necessary to protect the rights and interests of the

state, and enforce any and all rights, interests or claims against any and all

persons, firms or corporations in whatever court or jurisdiction such action

may be necessary; and he may also appear and interplead, answer or defend,

in any proceeding or tribunal in which the state’s interests are involved.” Mo.

Rev. Stat. § 27.060.

      12.    Plaintiff State of Missouri is a sovereign State that has sustained

direct and substantial injuries and losses as a result of the conduct described

herein.

      13.    The Attorney General is suing, in part, to vindicate the State’s

injuries to its own economic and proprietary interests that it has directly

suffered due to the actions of Defendants.

      14.    The Attorney General is also suing as parens patriae on behalf of

all Missouri citizens, to vindicate general injuries inflicted on Missouri citizens

by the pandemic caused by Defendants.
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      15.   As a sovereign State, Missouri has “a quasi-sovereign interest in

the health and well-being—both physical and economic—of its residents in

general.” Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S.

592, 607 (1982).

      16.   A state like Missouri, through its Attorney General, may act as “a

representative of the public” in “complaining of a wrong which, if proven, limits

the opportunities of her people [and] shackles her industries.” Alfred L. Snapp,

458 U.S. at 606 (stating that “in matters of grave public concern” a state “has

an interest apart from that of particular individuals who may be affected”).

      17.   Defendant People’s Republic of China (“PRC” or “China”) is a

communist nation in Asia.

      18.   Defendant Communist Party of China (“CPC” or “Communist

Party”) is the sole governing party within China, and the Communist Party’s

General Secretary becomes the president of the PRC.

      19.   On information and belief, the Communist Party is not an organ

or political subdivision of the PRC, nor is it owned by the PRC or a political

subdivision of the PRC, and thus it is not protected by sovereign immunity.

See, e.g., Yaodi Hu v. Communist Party of China, 2012 WL 7160373, at *3

(W.D. Mich. Nov. 20, 2012) (holding that the Communist Party of China is not

entitled to immunity under the Foreign Sovereign Immunities Act).
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      20.   On information and belief, at all relevant times, the Communist

Party exercised direction and control over the actions of all other Defendants.

      21.   Defendant National Health Commission of the People’s Republic

of China (“National Health Commission”) is a ministry of the PRC’s State

Council charged with formulating health policies.

      22.   Defendant Ministry of Emergency Management of the People’s

Republic of China (“Ministry of Emergency Management”) is a ministry of the

PRC’s State Council charged with emergency management and emergency

rescue.

      23.   Defendant Ministry of Civil Affairs of the People’s Republic of

China (“Ministry of Civil Affairs”) is a ministry of the PRC’s State Council

charged with social and administrative affairs.

      24.   The People’s Government of Hubei Province (“Hubei Province”) is

the provincial government of the geographical Hubei province in the PRC.

      25.   The People’s Government of the City of Wuhan (“City of Wuhan”)

is the city government of the capital city of Hubei Province in the PRC.

      26.   On information and belief, at all relevant times, the PRC, National

Health Commission, Ministry of Emergency Management, Ministry of Civil

Affairs, Hubei Province, and City of Wuhan (collectivity, the “Chinese

Government Defendants”) and the Communist Party acted in concert with one
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another and acted as agents and/or principals of one another in relation to the

conduct described herein.

      27.   The Wuhan Institute of Virology (“Wuhan Institute”) is located in

Wuhan and is a research institute that studies virology and related topics.

      28.   Since at least November 2019, the Wuhan Institute has conducted

research on coronaviruses.

      29.   Cables from the United States Department of State have warned

of safety concerns at the Wuhan Institute.2

      30.   The   United     States      is    currently    conducting    “a   full-scale

investigation into whether the novel coronavirus, which went on to morph into

a global pandemic that has brought the global economy to its knees, escaped

from” the Wuhan Institute.3

      31.   Defendant Chinese Academy of Sciences (“Chinese Academy of

Sciences”) is the national academy of the natural sciences for the PRC and




2 “State Department cables warned of safety issues at Wuhan lab studying bat

coronaviruses,” Washington Post (Apr. 14, 2020), available at:
https://www.washingtonpost.com/opinions/2020/04/14/state-department-
cables-warned-safety-issues-wuhan-lab-studying-bat-coronaviruses/.
3 “US officials confirm full-scale investigation of whether coronavirus escaped

from Wuhan lab,” Fox News (Apr. 17, 2020), available at:
https://www.foxnews.com/politics/us-officials-investigation-coronavirus-
wuhan-lab.
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describes itself as “the linchpin of China’s drive to explore and harness high

technology and the natural sciences for the benefit of China.”4

      32.      The Chinese Academy of Sciences seeks to “commercialize” its

discoveries and boasts about spinning off hundreds of companies from its

activities.5

      33.      The Chinese Academy of Sciences administers the Wuhan

Institute.

      34.      On information and belief, at all relevant times, the Wuhan

Institute and the Chinese Academy of Sciences (collectively, the “Laboratory

Defendants”), along with the Chinese Government Defendants and the CPC,

acted in concert with one another and acted as agents and/or principals of one

another in relation to the conduct described herein.

                          JURISDICTION AND VENUE

      35.      Article III, Section 2 of the United States Constitution extends the

judicial power of federal courts to “all Cases … between a State, or the Citizens

thereof, and foreign States, Citizens or Subjects.”

      36.      This Court is given jurisdiction of this matter under 28 U.S.C.

§ 1330, which provides for jurisdiction over foreign states, and 28 U.S.C.




4    “About    Us,”    Chinese    Academy     of  Sciences,  available  at:
http://english.cas.cn/about_us/introduction/201501/t20150114_135284.shtml.
5 Id.
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§ 1332(a), which provides for jurisdiction over citizens of a State and citizens

or subjects of a foreign state and a foreign state itself, where the amount in

controversy exceeds $75,000.

      37.   The amount in controversy in this matter exceeds $75,000.

      38.   This Court has jurisdiction over cases filed against foreign states

such as the Chinese Government Defendants under the commercial activity

exception to the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C.

§ 1605(a)(2), which provides:

      (a) A foreign state shall not be immune from the jurisdiction of
      courts of the United States or of the States in any case— … (2) in
      which the action is based upon a commercial activity carried on in
      the United States by the foreign state; or upon an act performed in
      the United States in connection with a commercial activity of the
      foreign state elsewhere; or upon an act outside the territory of the
      United States in connection with a commercial activity of the
      foreign state elsewhere and that act causes a direct effect in the
      United States.

      39.   A commercial activity is defined to be “either a regular course of

commercial conduct or a particular commercial transaction or act. The

commercial character of an activity shall be determined by reference to the

nature of the course of conduct or particular transaction or act, rather than by

reference to its purpose.” 28 U.S.C. § 1603(d).

      40.   On information and belief, the conduct of Defendants described

below arises out of commercial activities that have caused a direct effect in the

United States and in the State of Missouri, including, but not limited to: (1)
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operation of the healthcare system in Wuhan and throughout China; (2)

commercial research on viruses by the Wuhan Institute and Chinese Academy

of Sciences; (3) the operation of traditional and social media platforms for

commercial gain; and (4) production, purchasing, and import and export of

medical equipment, such as personal protective equipment (“PPE”), used in

COVID-19 efforts.

      41.   Additionally and in the alternative, this Court has jurisdiction

over cases filed against foreign states such as the Chinese Government

Defendants under the non-commercial tort exception to the FSIA, 28 U.S.C.

§ 1605(a)(5), which provides:

      (a) A foreign state shall not be immune from the jurisdiction of
      courts of the United States or of the States in any case— … (5) not
      otherwise encompassed by [the commercial activities exception], in
      which money damages are sought against a foreign state for
      personal injury or death, or damage to or loss of property,
      occurring in the United States and caused by the tortious act or
      omission of that foreign state or of any official or employee of that
      foreign state while acting within the scope of his office or
      employment; except this paragraph shall not apply to— (A) any
      claim based upon the exercise or performance or the failure to
      exercise or perform a discretionary function regardless of whether
      the discretion be abused, or (B) any claim arising out of malicious
      prosecution, abuse of process, libel, slander, misrepresentation,
      deceit, or interference with contract rights.

      42.   The non-commercial tort exception of 28 U.S.C. § 1605(a)(5)

applies here because money damages are sought against “a foreign state for
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personal injury or death, or damage to or loss of property, occurring in the

United States.”

      43.   Specifically, for purposes of the non-commercial tort exception of

28 U.S.C. § 1605(a)(5), each of the counts enumerated below are torts occurring

in the United States.

      44.   In addition, the Communist Party is not a foreign state or an

agency or instrumentality of a foreign state, and is not entitled to any form of

sovereign immunity.

      45.   This Court has personal jurisdiction over the Defendants because

the torts, harms, and injuries occurred in this District and in this Division of

this District, and they otherwise have sufficient contacts in Missouri and the

rest of the United States to render the exercise of jurisdiction by this Court

permissible.

      46.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

and (c) because a substantial part of the events or omissions giving rise to

Plaintiff’s claims occurred in this District and in this Division of this District.

                           GENERAL ALLEGATIONS

                         THE ORIGINS OF COVID-19

      47.   COVID-19 is an infectious disease that is caused by a novel

coronavirus, severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2).
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        48.   Humans are believed to have first contracted COVID-19 in late

2019, although the precise date is unknown.

        49.   Some sources date the first known case in China to November 17,

2019, or possibly earlier.6

        50.   A variety of sources also date the first known case to December

2019.

        51.   One theory on the origin of the virus is that it made a zoonotic

transmission from animals at a wet market in Wuhan (the “Wuhan Seafood

Market”).7

        52.   Another emerging theory on the origin of the virus is that it was

released from the Wuhan Institute of Virology, which was studying the virus

as part of a commercial activity.8

        53.   After first transmission, the virus began to spread rapidly.




6 “Coronavirus: China’s first confirmed Covid-19 case traced back to November

17,” South China Morning Press (March 13, 2020), available at:
https://www.scmp.com/news/china/society/article/3074991/coronavirus-
chinas-first-confirmed-covid-19-case-traced-back.
7 “Clinical features of patients infected with 2019 novel coronavirus in Wuhan,

China,”       The     Lancet      (January     24,    2020),    available   at:
https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(20)30183-
5/fulltext.
8 “Sources believe coronavirus outbreak originated in Wuhan lab as part of

China’s efforts to compete with US,” Fox News (Apr. 15, 2020),
https://www.foxnews.com/politics/coronavirus-wuhan-lab-china-compete-us-
sources.
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           54.   According to The Lancet, one of the earliest known patientsa

man affiliated with the Wuhan Seafood Markethad a symptom onset date of

December 1, 2019.9

           55.   Just five days later, the wife of this patientwho had no affiliation

with the marketbegan exhibiting symptoms, indicating human-to-human

transmission.10

           56.   According to a study in the Chinese Medical Journal, sometime

between December 18 and 29, 2019, laboratory testing was being done on

patients who exhibited symptoms consistent with COVID-19.11

           57.   The study in the Chinese Medical Journal attributed the illnesses

to “[a] novel bat-borne [coronavirus] … that is associated with severe and fatal

respiratory disease in humans.”12

           58.   According to a study in the New England Journal of Medicine,

“[t]he majority of the earliest cases included reported exposure to the Huanan



9 “Clinical features of patients infected with 2019 novel coronavirus in Wuhan,

China,”      The      Lancet     (January     24,    2020),   available   at:
https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(20)30183-
5/fulltext.
10 Id.
11 “Identification of a novel coronavirus causing severe pneumonia in human:

a descriptive study,” Chinese Medical Journal (February 21, 2010), available
at:
https://journals.lww.com/cmj/Abstract/publishahead/Identification_of_a_novel
_coronavirus_causing.99423.aspx.
12   Id.
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Seafood Wholesale Market, but there was an exponential increase in the

number of nonlinked cases beginning in late December.”13

      59.   Thus, on or around late December 2019, healthcare professionals

in Wuhan were reporting infections indicating human-to-human transmission.

      60.   According to Chinese sources cited in the National Review, on

December 25, 2019, “Chinese medical staff in two hospitals in Wuhan [were]

suspected of contracting viral pneumonia and [were] quarantined. This is

additional strong evidence of human-to-human transmission.”14           This was

corroborated by the Wall Street Journal.15

      61.   According to the South China Morning Press, “On December 27,

Zhang Jixian, a doctor from Hubei Provincial Hospital of Integrated Chinese

and Western Medicine, told China’s health authorities that the disease was

caused by a new coronavirus. By that date, more than 180 people had been

infected, though doctors might not have been aware of all of them at the

time.”16


13 “Early Transmission Dynamics in Wuhan, China, of Novel Coronavirus–

Infected Pneumonia,” New England Journal of Medicine (Jan. 29, 2020),
available at: https://www.nejm.org/doi/10.1056/NEJMoa2001316.
14 “Devastating Lies,” National Review (March 23, 2020), available at:

https://www.nationalreview.com/the-morning-jolt/chinas-devastating-lies/.
15 “How It All Started: China’s Early Coronavirus Missteps,” The Wall Street

Journal (Mar. 6, 2020), available at: https://www.wsj.com/articles/how-it-all-
started-chinas-early-coronavirus-missteps-11583508932.
16 “Coronavirus: China’s first confirmed Covid-19 case traced back to November

17,” South China Morning Press (March 13, 2020), available at:
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           62.   According to CNN, on December 30, 2019, Dr. Li Wenliang, using

the popular chat application WeChat, told his medical school alumni group

about patients at his hospital suffering from a SARS-like illness that may have

originated from a coronavirus.17

           63.   In his messages, Dr. Li Wenliang shared details of what would be

named COVID-19, urging them to take precautions against the risk of human-

to-human transmission.18

           64.   A study of patients admitted through January 2 found that only 27

of 41 patients had a link to the Wuhan Seafood Market, indicating human-to-

human transmission in December.19

           65.   Despite the previously-mentioned evidence to the contrary, on

December 31, 2020, the Wuhan Municipal Health Commission declared, “[t]he




https://www.scmp.com/news/china/society/article/3074991/coronavirus-
chinas-first-confirmed-covid-19-case-traced-back.
17 “This Chinese doctor tried to save lives, but was silenced. Now he has

coronavirus,”       CNN       (Feb.      4,     2020),    available      at:
https://www.cnn.com/2020/02/03/asia/coronavirus-doctor-whistle-blower-intl-
hnk/index.html.
18   Id.
19 “Clinical features of patients infected with 2019 novel coronavirus in Wuhan,

China,”     The    Lancet     (January     24,     2020),    available    at:
https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(20)30183-
5/fulltext.
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investigation so far has not found any obvious human-to-human transmission

and no medical staff infection.”20

      66.   The World Health Organization (“WHO”) was finally informed of

these events on December 31, with the organization saying that “the WHO

China Country Office was informed of cases of pneumonia unknown etiology

(unknown cause) detected in Wuhan City, Hubei Province of China.”21

      67.   On information and belief, part of the Defendants’ coverup

involved misleading the WHO, an international organization under the United

Nations whose objective is “the attainment by all peoples of the highest

possible level of health,” according to its Constitution.22

      68.   On information and belief, the Chinese Government Defendants

delayed reporting COVID-19 to the WHO for weeks after the outbreak was

identified in the Chinese medical community.

      69.   Under Article 6.1 of the International Health Regulations, China

had a duty to report “all events which may constitute a public health

emergency of international concern within its territory” within 24 hours.


20  “Devastating Lies,” National Review (March 23, 2020), available at:
https://www.nationalreview.com/the-morning-jolt/chinas-devastating-lies/.
21 “Novel Coronavirus (2019-nCoV) SITUATION REPORT – 1,” World Health

Organization        (January       21,       2020),       available       at:
https://www.who.int/docs/default-source/coronaviruse/situation-
reports/20200121-sitrep-1-2019-ncov.pdf.
22 World Health      Organization Constitution, Article I, available at:
https://apps.who.int/gb/bd/PDF/bd47/EN/constitution-en.pdf?ua=1.
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           70.   When China did inform the WHO of the disease, Chinese

authorities denied human-to-human transmission, despite having significant

evidence to the contrary.         On information and belief, Defendants’ denial

induced the WHO to also deny or downplay the risk of human-to-human

transmission in the critical weeks while the virus was first spreading.

                  DEFENDANTS ALLOW THE VIRUS TO SPREAD

           71.   According to data gather by the New York Times, approximately

175,000 individuals left Wuhan on January 1 alone to travel for the Lunar New

Year. 23

           72.   As stated by the New York Times, because of the Lunar New Year

travel, “[t]he timing of the outbreak could not have been worse.”24

           73.   According to the Wall Street Journal, China “went ahead with New

Year celebrations despite the risk of wider infections” and let “some five million

people leave Wuhan without screening.”25

           74.   Many of these travelers went not only to other parts of China, but

spread out across the globe.




23 “How the Virus Got Out,” The New York Times (Mar. 22, 2020), available at:

https://www.nytimes.com/interactive/2020/03/22/world/coronavirus-
spread.html?action=click&module=Spotlight&pgtype=Homepage.
24   Id.
25 “How It All Started: China’s Early Coronavirus Missteps,” The Wall Street

Journal (Mar. 6, 2020), available at: https://www.wsj.com/articles/how-it-all-
started-chinas-early-coronavirus-missteps-11583508932.
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           75.   In mid-January, on or around January 16, despite knowing the

risks of doing so, Wuhan leaders hosted a potluck dinner for 40,000 residents,

increasing the potential spread of the virus.26

           76.   Defendants allowed these massive public gatherings and massive

exodus from Wuhan despite knowing the risks of COVID-19, including the risk

of human-to-human transmission.

                         THE COVERUP BY DEFENDANTS

           77.   On December 30, 2019, the Wuhan Municipal Health Commission

released a notice to medical institutions that patients visiting the Wuhan

Seafood Market had contracted a pneumonia-like illness. 27

           78.   The notice warned medical professionals, “Any organizations or

individuals are not allowed to release treatment information to the public

without authorization.”28

           79.   Within hours of sending his warning to colleagues via WeChat on

December 30, screenshots of Dr. Li Wenliang’s message had been shared




26 “Is Wuhan’s mayor being set up to be the fall guy for the virus outbreak?”,

CNN (Jan. 29, 2020), available at https://www.cnn.com/asia/live-
news/coronavirus-outbreak-01-29-20-intl-
hnk/h_6d8cf9d5c0b2cf01447dd24325ed6dd3.
27 “This Chinese doctor tried to save lives, but was silenced. Now he has

coronavirus,”     CNN        (Feb.     4,      2020),     available      at:
https://www.cnn.com/2020/02/03/asia/coronavirus-doctor-whistle-blower-intl-
hnk/index.html.
28   Id.
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widely on social media, but government censors then took action to stop the

circulation.29

           80.   On or about December 31, researchers at the University of Toronto

began to notice censoring of key words about the virus on Chinese social media

platforms. 30

           81.   One of the censored platforms was WeChat, and as explained by

the researchers, WeChat “has become increasingly popular among [Chinese]

doctors who use it to obtain professional knowledge from peers. Because of

social media’s integral role in Chinese society and its uptake by the Chinese

medical community, systematic blocking of general communication on social

media related to disease information and prevention risks substantially

harming the ability of the public to share information that may be essential to

their health and safety.”31




29 “How It All Started: China’s Early Coronavirus Missteps,” The Wall Street

Journal (Mar. 6, 2020), available at: https://www.wsj.com/articles/how-it-all-
started-chinas-early-coronavirus-missteps-11583508932.
30 “How Information on the Coronavirus is Managed on Chinese Social Media,”

Censored Contagion: How Information on the Coronavirus is Managed on
Chinese       Social     Media,     (Mar.     3,   2020),    available     at
https://citizenlab.ca/2020/03/censored-contagion-how-information-on-the-
coronavirus-is-managed-on-chinese-social-media/.
31   Id.
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           82.        On January 1 or 2, the Wuhan police stated that they had “taken

legal measures” against eight people who “published and shared rumors

online,” and one of them is believed to be Dr. Wenliang.32

           83.        According to CNN, “The police announcement [against the eight

people] was broadcast across the country on CCTV, China’s state broadcaster,

making           it    clear   how   the   Chinese     government      would   treat   such

‘rumormongers.’”33

           84.        The message reportedly said, “The internet is not a land beyond

the law ... Any unlawful acts of fabricating, spreading rumors and disturbing

the social order will be punished by police according to the law, with zero

tolerance.”34

           85.        As described by the St. Louis Post-Dispatch, “The punishment of

eight doctors for ‘rumor-mongering,’ broadcast on national television on Jan.

2, sent a chill through the city’s hospitals,” and suppressed information from

reaching the rest of the world.35




32 “This Chinese doctor tried to save lives, but was silenced. Now he has
coronavirus,”     CNN        (Feb.     4,      2020),     available      at:
https://www.cnn.com/2020/02/03/asia/coronavirus-doctor-whistle-blower-intl-
hnk/index.html.
33   Id.
34   Id.
35 “Six days of silence when China didn’t warn public of likely pandemic,” The

St.    Louis    Post   Dispatch,   (Apr.    16,    2020),   available   at:
https://www.stltoday.com/news/national/your-daily-6-nurses-suspended-over-
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           86.   On January 1, 2020, “after several batches of genome sequence

results had been returned to hospitals and submitted to health authorities, an

employee of one genomics company received a phone call from an official at the

Hubei Provincial Health Commission, ordering the company to stop testing

samples from Wuhan related to the new disease and destroy all existing

samples.”36

           87.   Also on January 1, 2020, Dr. Ai Fen, who ran an emergency

department at a Wuhan hospital, ordered her staff to put on masks, suspecting

human-to-human transmission. 37

           88.   But that night, “the hospital’s discipline department summoned

her for a chat the next day. She was criticized for ‘spreading rumors,’ according

to Dr. Ai. She tried to argue that the disease could be contagious. They said

her action caused panic and ‘damaged the stability’ of Wuhan. The hospital’s

leadership also banned staff from discussing the disease in public or via texts

or images.”38



masks-cheaper-iphone-and-how-six-days-of-silence/collection_a2b87190-132f-
5438-a36d-1c48c64be013.html#1.
36 “How early signs of the coronavirus were spotted, spread and throttled in

China,”    The     Strait   Times     (Feb.    28,  2020),    available    at:
https://www.straitstimes.com/asia/east-asia/how-early-signs-of-the-
coronavirus-were-spotted-spread-and-throttled-in-china.
37 “How It All Started: China’s Early Coronavirus Missteps,” The Wall Street

Journal (Mar. 6, 2020), available at: https://www.wsj.com/articles/how-it-all-
started-chinas-early-coronavirus-missteps-11583508932.
38   Id.
Case: 1:20-cv-00099-SNLJ       Doc. #: 1    Filed: 04/21/20   Page: 22 of 47 PageID #:
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           89.   On January 2, 2020, the Wuhan Institute completed its genome

sequencing of the virus. 39

           90.   Discovery of the genome sequence was not announced at the

time.40

           91.   On January 3, 2020, Dr. Wenliang was forced to confess to a

misdemeanor, prepare a self-criticism, and agree not to commit any additional

“unlawful acts.”41

           92.   On January 3, 2020, “China’s National Health Commission (NHC),

the nation’s top health authority, ordered institutions not to publish any

information related to the unknown disease, and ordered labs to transfer any

samples they had to designated testing institutions, or to destroy them.”42

           93.   The National Review, quoting Chinese sources, stated that on

January 3, the “Wuhan Municipal Health Commission released another

statement, repeating, ‘As of now, preliminary investigations have shown no




39   Id.
40   Id.
41 “This Chinese doctor tried to save lives, but was silenced. Now he has
coronavirus,”      CNN        (Feb.     4,      2020),      available    at:
https://www.cnn.com/2020/02/03/asia/coronavirus-doctor-whistle-blower-intl-
hnk/index.html.
42 “How early signs of the coronavirus were spotted, spread and throttled in

China,”   The     Strait    Times    (Feb.    28,   2020),    available  at:
https://www.straitstimes.com/asia/east-asia/how-early-signs-of-the-
coronavirus-were-spotted-spread-and-throttled-in-china.
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clear evidence of human-to-human transmission and no medical staff

infections.’”43

           94.   According to the Wall Street Journal, on January 5, “a medical

research center in Shanghai notified the National Health Commission that one

of its professors had also identified a SARS-like coronavirus and mapped the

entire genome using a sample from Wuhan.”44

           95.   Like the genome discovery by the Wuhan Institute on January 2,

the January 5 genome mapping was not made public for several days. 45

           96.   On January 5, 2020, relying on information from Chinese officials,

WHO released a statement saying, “Based on the preliminary information

from the Chinese investigation team, no evidence of significant human-to-

human transmission and no health care worker infections have been

reported.”46




43  Devastating Lies,” National Review (March 23, 2020), available at:
https://www.nationalreview.com/the-morning-jolt/chinas-devastating-lies/.
44 “How It All Started: China’s Early Coronavirus Missteps,” The Wall Street

Journal (Mar. 6, 2020), available at: https://www.wsj.com/articles/how-it-all-
started-chinas-early-coronavirus-missteps-11583508932.
45   Id.
46 “Pneumonia of unknown cause – China,” WHO Disease Outbreak News (Jan.

5, 2020), available at: https://www.who.int/csr/don/05-january-2020-
pneumonia-of-unkown-cause-china/en/.
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      97.   On January 6, the United States Centers for Disease Control

offered to send a research team to assist Defendants, but Defendants did not

extend permission to enter the country.47

      98.   On January 8, 2020, WHO, relying on information from Chinese

officials, said, “WHO does not recommend any specific measures for travelers.

WHO advises against the application of any travel or trade restrictions on

China based on the information currently available.”48

      99.   Chinese authorities, including Defendants, did not publicly

confirm the outbreak as originating from a novel coronavirus until January 9,

2020, despite having a mapping of its genome and other details showing that

it was a new virus.49




47  “Exclusive: U.S. axed CDC expert job in China months before virus
outbreak,”      Reuters       (Mar.      22,      2020),    available      at:
https://www.reuters.com/article/us-health-coronavirus-china-cdc-
exclusiv/exclusive-u-s-axed-cdc-expert-job-in-china-months-before-virus-
outbreak-idUSKBN21910S.
48 “WHO Statement regarding cluster of pneumonia cases in Wuhan, China,”

WHO (Jan. 9, 2020), available at: https://www.who.int/china/news/detail/09-
01-2020-who-statement-regarding-cluster-of-pneumonia-cases-in-wuhan-
china.
49 “How It All Started: China’s Early Coronavirus Missteps,” The Wall Street

Journal (Mar. 6, 2020), available at: https://www.wsj.com/articles/how-it-all-
started-chinas-early-coronavirus-missteps-11583508932.
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           100. On January 10, the New York Times attributed to the Wuhan City

Health Commission a statement that “[t]here is no evidence that the virus can

be spread between humans.”50

           101. According to the National Review, citing Chinese sources, on

January 11, the Wuhan City Health Commission issued a statement saying,

“All 739 close contacts, including 419 medical staff, have undergone medical

observation and no related cases have been found . . . No new cases have been

detected since January 3, 2020. At present, no medical staff infections have

been found, and no clear evidence of human-to-human transmission has been

found.”51 This statement directly contradicted then-existing evidence.

           102. Chinese authorities, including Defendants, did not share the

genome sequencewhich the Wall Street Journal described as a “critical step[]

toward containing the epidemic and designing a vaccine”with the

international community until January 12.52




50 “China Reports First Death From New Virus,” The New York Times (Jan.

10, 2010), available at: https://www.nytimes.com/2020/01/10/world/asia/china-
virus-wuhan-death.html?searchResultPosition=9.
51 “Devastating Lies,” National Review (March 23, 2020), available at:

https://www.nationalreview.com/the-morning-jolt/chinas-devastating-lies/.
51 “How It All Started: China’s Early Coronavirus Missteps,” The Wall Street

Journal (Mar. 6, 2020), available at: https://www.wsj.com/articles/how-it-all-
started-chinas-early-coronavirus-missteps-11583508932.
52   Id.
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           103. The first case outside of China was reported in Thailand on

January 13. 53

           104. Following the Thai case, Defendants did not tell the public about

the new evidence directly confirming human-to-human transmission.54

           105. For instance, PRC and CPC officials continued denying human-to-

human transmission and failed to inform the public, despite overwhelming

evidence of the virus’s contagiousness.55

           106. According to the National Review, citing Chinese sources, on

January 14, the Wuhan City Health Commission issued another statement

saying, “Among the close contacts, no related cases were found.”56

           107. According to the Wall Street Journal, when President and General

Secretary Xi Jinping, leader of the PRC and CPC, made “his first public

statement on the crisis on January 20, he made no explicit mention of human-

to-human transmission.”57


53 “Six days of silence when China didn’t warn public of likely pandemic,” The

St.    Louis    Post   Dispatch,   (Apr.    16,    2020),    available  at:
https://www.stltoday.com/news/national/your-daily-6-nurses-suspended-over-
masks-cheaper-iphone-and-how-six-days-of-silence/collection_a2b87190-132f-
5438-a36d-1c48c64be013.html#1.
54 Id.
55   Id.
56  “Devastating Lies,” National Review (March 23, 2020), available at:
https://www.nationalreview.com/the-morning-jolt/chinas-devastating-lies/.
57 “How It All Started: China’s Early Coronavirus Missteps,” The Wall Street

Journal (Mar. 6, 2020), available at: https://www.wsj.com/articles/how-it-all-
started-chinas-early-coronavirus-missteps-11583508932.
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           108. By the time President Xi made his statement, millions of travelers

passed through Wuhan, and “more than 3,000 people had been infected during

almost a week of public silence, according to internal documents obtained by

The Associated Press and expert estimates based on retrospective infection

data.”58

           109. The Wuhan City Health Commission continued publicly to deny

human-to-human transmission until January 20,59 at which point a Chinese

authorities finally confirmed for the first time that human-to-human

transmission was occurring.60

           110. On January 20 and 21, 2020, the WHO was able to conduct a

mission on the ground in China and said afterward, “Data collected through

detailed epidemiological investigation and through the deployment of the new

test kit nationally suggests that human-to-human transmission is taking place




58 “Six days of silence when China didn’t warn public of likely pandemic,” The

St.    Louis    Post   Dispatch,   (Apr.    16,    2020),    available  at:
https://www.stltoday.com/news/national/your-daily-6-nurses-suspended-over-
masks-cheaper-iphone-and-how-six-days-of-silence/collection_a2b87190-132f-
5438-a36d-1c48c64be013.html#1.
59   Id.
60 “China confirms human-to-human transmission of coronavirus,” The
Guardian          (January       20,      2020),       available      at:
https://www.theguardian.com/world/2020/jan/20/coronavirus-spreads-to-
beijing-as-china-confirms-new-cases.
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in Wuhan. More analysis of the epidemiological data is needed to understand

the full extent of human-to-human transmission.”61

      111. On January 23, 2020, China began its first steps towards

quarantining Wuhan residents.

      112. Weeks after the lockdown slowed cases in Wuhan, China continued

to mislead the world about its knowledge of the nature of the virus, and on

April 17, 2020, it upwardly revised the death toll in Wuhan by more than a

thousand cases, attributing the error to “incorrect reporting, delays and

omissions.”62

      113. Chinese citizen journalists, who posted videos from Wuhan of

overcrowded hospitals and other scenes from the COVID-19 pandemic, have

gone missing in recent weeks.63

      114. On information and belief, China continues to mislead the world

about the infection rate, fatality rate, and other key statistics of COVID-19.


61 “Mission summary: WHO Field Visit to Wuhan, China 20-21 January 2020,”

WHO (Jan. 22, 2020), available at: https://www.who.int/china/news/detail/22-
01-2020-field-visit-wuhan-china-jan-2020.
62 “China Raises Wuhan Death Stats By Half To Account For Reporting Delays

And Omissions,” National Public Radio (Apr. 17, 2020), available at:
https://www.npr.org/sections/coronavirus-live-
updates/2020/04/17/836700806/china-raises-wuhan-death-stats-by-half-to-
account-for-reporting-delays-and-omiss.
63 “2 Wuhan whistleblowers missing months after helping expose coronavirus

outbreak, activists say,” Fox News (Apr. 15, 2020), available at:
https://www.foxnews.com/world/wuhan-whistleblowers-missing-exposing-
coronavirus.
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      115. China has launched a “massive public relations campaign to avoid

blame for the COVID-19 pandemic” and has spread conspiracy theories that

the U.S. military had spread the virus.64

               THE EFFECTS OF DEFENDANTS’ ACTIONS

      116. Due to Defendants’ malfeasance, COVID-19 spread rapidly across

the world, and as of April 20, 2020, the New York Times reports 770,138

confirmed cases in the United States and 37,186 deaths.65

      117. As of April 20, 2020, Missouri has more than 5,800 confirmed

infections from COVID-19, and at least 177 Missourians have died.66

      118. In addition to the toll on human life and health, the pandemic has

caused enormous economic disruptions across the United States and in

Missouri, with tens of millions of Americans and many thousands of

Missourians filing jobless claims.67




64 “Guest on Chinese-produced Arabic-language program claimed US may be

to blame for coronavirus pandemic,” Fox News (Apr. 19, 2020), available at:
https://www.foxnews.com/world/chinese-arabic-language-program-us-
coronavirus-pandemic.
65 “Coronavirus in the U.S.: Latest Map and Case Count,” The New York Times

(Apr.              20,             2020),           available            at:
https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html.
66 COVID-19 Outbreak, Missouri Department of Health and Senior Services

(Apr.              20,             2020),           available            at:
https://health.mo.gov/living/healthcondiseases/communicable/novel-
coronavirus/.
67 “The Impact of COVID-19 on Labor Markets across the U.S.,” The Federal

Reserve Bank of St. Louis (Apr. 13, 2020), available at:
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      119. Before the pandemic, Missouri had one of its lowest unemployment

rates of the past decade,68 but on information and belief, Missouri’s

unemployment rate is now the highest it has been since the Great Depression.

      120. The pandemic unleashed by Defendants has had enormous

economic impacts on both the Missouri government and on virtually every

citizen of Missouri.

      121. Responding to the pandemic has required shutting down

businesses, disrupting ordinary production and trade, and dislocating workers.

      122. Missouri’s government entities have suffered direct economic

losses as a result of the pandemic, including loss of revenues and budgetary

shortages, with direct effects on state services, state pension funds, and many

other state proprietary and economic interests.

      123. In addition, innumerable citizens of Missouri have suffered

economic losses as a result of the pandemic. These include loss of jobs, loss of

income, loss of business opportunities, and other economic losses.

      124. A preliminary analysis by an economist at the University of

Missouri estimates that the economic impact of the pandemic on Missouri

could total in the tens of billions of dollars, even if only one outbreak occurs.



https://www.stlouisfed.org/on-the-economy/2020/april/impact-covid-19-labor-
markets-us.
68 “Missouri Economic Dashboard,” Office of the Missouri State Treasurer (Apr.

19, 2020), available at: https://treasurer.mo.gov/economicdashboard/
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      125. The Governor of Missouri, anticipating a steep decline in revenues,

has restricted millions of dollars in state expenditures.69

      126. Beyond the costs in terms of health, life, and the economy, the toll

to human relationships has been enormous, as Missourians are unable to visit

family and friends, celebrate major life milestones like high school or college

graduations, or even attend Easter or Passover religious services. Literally

every Missourian has suffered an economic, emotional, and/or spiritual toll of

the coronavirus.

      127. As one example of the human toll, due to actions by Defendants,

Missouri families with loved ones in nursing homes have been unable to visit

them, and some have been unable to visit dying relatives. As one St. Louis

area woman tragically said of her stepfather, who died alone in a nursing home

due to COVID-19, “He was always there for everyone. At the end he was all

alone.”70




69 “Governor Parson Announces Expenditure Restrictions to Ensure Balanced

Budget, Funds to Combat COVID-19,” Office of the Missouri Governor (Apr. 1,
2020), available at: https://governor.mo.gov/press-releases/archive/governor-
parson-announces-expenditure-restrictions-ensure-balanced-budget.
70 “‘No dignity’: Forced apart by coronavirus, families of nursing home dead left

in the dark,” The St. Louis Post Dispatch (Apr. 19, 2020), available at:
https://www.stltoday.com/news/local/metro/no-dignity-forced-apart-by-
coronavirus-families-of-nursing-home-dead-left-in-the-dark/article_b66439b5-
3167-56b0-bfc7-4ab0bf08e96b.html#tracking-source=home-top-story.
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       128. As another example, doctors and other medical professionals on

the front line are also being separated from their families. One St. Louis-area

doctor has bought a camping trailer and is sleeping in it in her family’s

driveway, unable to see her husband and two children while she works to treat

infected persons.71

       129. In addition to emotional turmoil and economic disruption,

Defendants’ course of conduct has inflicted enormous educational disruption

on Missouri students at every level, from preschool through graduate studies.

Schools have been closed for months, graduations and tests canceled, students

isolated at home, libraries closed, and learning completely disrupted.

                      DEFENDANTS’ ACTIONS AS TO PPE

       130. On March 13, 2020, the New York Times ran a story documenting

China’s hoarding of PPE, saying China has “claimed mask factory output for

itself.”72

       131. According to the New York Times report, “Peter Navarro, an

adviser to President Trump on manufacturing and trade, contended on Fox


71 “Doctor on front line of St. Louis’ fight against coronavirus: ‘Don’t waste all

the effort and pain,’” The St. Louis Post Dispatch (Apr. 17, 2020), available at:
https://www.stltoday.com/lifestyles/health-med-fit/coronavirus/doctor-on-
front-line-of-st-louis-fight-against-coronavirus-don-t-waste-all-
the/article_bffd3a8b-f91b-50f5-8353-925876451e98.html.
72 “The World Needs Masks. China Makes Them, but Has Been Hoarding

Them,” The New York Times (Mar. 13, 2020), available at:
https://www.nytimes.com/2020/03/13/business/masks-china-coronavirus.html.
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Business last month that China had essentially taken over factories that make

masks on behalf of American companies. Beijing, he said, had opted to

‘nationalize effectively 3M, our company.’”73

           132. According to the New York Times, “China did not just stop selling

masks—it also bought up much of the rest of the world’s supply.”74

           133. Defendants’ hoarding efforts resulted in it going “from being a net

exporter of personal protective equipment, as it is the largest producer in the

world, to a net importer.”75

           134. According to a recent piece in the Washington Post, White House

officials believe China’s actions of hoarding and importing PPE were a

“deliberate attempt by China to corner the market as it concealed and

downplayed the danger posed by the outbreak.”76




73   Id.
74   Id.
75 “Navarro: China Went from a Net Exporter of PPE to a Large Net Importer,”

Fox         News          (Apr.       19,       2020),        available      at:
https://www.breitbart.com/clips/2020/04/19/navarro-china-went-from-a-net-
exporter-of-ppe-to-a-large-net-importer/.
76 “U.S. sent millions of face masks to China early this year, ignoring pandemic

warning signs,” The Washington Post (Apr. 18, 2020), available at:
https://www.washingtonpost.com/health/us-sent-millions-of-face-masks-to-
china-early-this-year-ignoring-pandemic-warning-signs/2020/04/18/aaccf54a-
7ff5-11ea-8013-1b6da0e4a2b7_story.html.
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      135. China is not currently allowing U.S. companies to bring PPE or

coronavirus test kits back to the United States, citing quality concerns.77

      136. The little PPE that China has released has drawn complaints from

governments and hospitals across the world for being faulty, raising the

prospect that it is keeping quality materials for itself while shipping defective

equipment elsewhere.78

      137. On information and belief, the Defendants’ hoarding of PPE has

been motivated, at least in part, by the desire to profit from increased

worldwide demand of PPE during the viral outbreak, including in Missouri.

      138. On information and belief, Defendants’ hoarding of PPE has

adversely impaired the ability of health care providers throughout the world,

including in the United States and in Missouri, from safely and effectively

treating patients with the virus.

                       COUNT I: PUBLIC NUISANCE

                           (Against All Defendants)




77  “China’s Export Restrictions Strand Medical Goods U.S. Needs to Fight
Coronavirus, State Department Says,” The Wall Street Journal (Apr. 16, 2020),
available at: https://www.wsj.com/articles/chinas-export-restrictions-strand-
medical-goods-u-s-needs-to-fight-coronavirus-state-department-says-
11587031203?mod=hp_lead_pos2.
78 “U.S. Asks China to Revise Export Rules for Coronavirus Medical Gear,” The

New       York      Times      (Apr.     16,      2020),    available      at:
https://www.nytimes.com/reuters/2020/04/16/world/asia/16reuters-heath-
coronavirus-usa-china.html.
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      139. Plaintiff repeats, restates, and incorporates by reference all

allegations in Paragraphs 1 to 138.

      140. Under Missouri law, a defendant is liable for the tort of public

nuisance when its conduct unreasonably interferes with a right common of the

general public, such as interference with the public health and public safety.

      141. As one court has explained, “A public or common nuisance is an

offense against the public order and economy of the state, by unlawfully doing

any act or by omitting to perform any duty which the common good, public

decency, or morals, or the public right to life, health and the use of property

requires, and which at the same time annoys, injures, endangers, renders

insecure, interferes with, or obstructs the rights of property of the whole

community, or neighborhood, or of any considerable number of persons, even

though the extent of the annoyance, injury or damage may be unequal, or may

vary in its effect upon individuals.” St. Louis v. Varahi, 39 S.W.3d 531, 536

(Mo. App. E.D. 2001).

      142. Each Defendant owed a duty to the public, including Missouri’s

residents, not to offend, interfere with, or damage the common rights of

Missourians through fraudulent, reckless, and negligent actions and

omissions.
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      143. Defendants, in violation of the International Health Regulations,

and in violation of the common good and Missourians’ life and health, failed to

quarantine its population against a virus known to be exceptionally dangerous.

      144. Defendants, in violation of the common good and Missourians’ life

and health, took stepsincluding (but not limited to) censoring media, ceasing

and censoring research, destroying scientific materials, making false and/or

misleading statements to the international community, hoarding PPE for gain,

and punishing medical professionalsthat impeded the ability of the medical

community and others to stop the spread of COVID-19 and its consequences.

      145. The repeated unlawful and unreasonable acts and omissions of the

Defendants, including their commercial activities, as alleged herein, have been

injurious to—and have significantly interfered with—the lives, health, and

safety of substantial numbers of Missouri residents, ruining lives and

damaging the public order and economy of the State of Missouri.

      146. As a proximate result of Defendants’ conduct, the State and its

residents have suffered billionsand possibly tens of billionsof dollars in

economic damages, as well as substantial non-economic damages.

      147. The conduct of the Defendants was knowing, willful, and in

reckless disregard of the rights of the State and its residents. Defendants

demonstrated a complete indifference to or conscious disregard for the safety
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of the public and their conduct was unreasonable and was reckless in light of

the known risks to them of COVID-19.

      148. Defendants have engaged in a continuing course of conduct.

Defendants’ unreasonable bad acts—as well as the resulting harm to the

health, well-being, safety, comfort, economic interests, and rights of Missouri

and its residents—continue unabated.

      WHEREFORE, Plaintiff respectfully requests that the Court enter

judgment in favor of Plaintiff, jointly and severally against each and every

Defendant, as follows: (a) determine that all Defendants created a public

nuisance; (b) order that Defendants pay all restitution authorized by law; (c)

order that all Defendants abate the nuisance, reimburse the cost of the State’s

abatement efforts, and pay compensatory damages for harms caused by the

nuisance; (d) issue injunctive relief; (e) order that Defendants pay punitive

damages; (f) order that Defendants pay all reasonable costs attributable to the

prosecution of this civil action; (g) order that Defendants pay prejudgment

interest; and (h) order such further relief as the Court deems just and

appropriate.

           COUNT II: ABNORMALLY DANGEROUS ACTIVITES

                           (Against All Defendants)

      149. Plaintiff repeats, restates, and incorporates by reference all

allegations in Paragraphs 1 to 148.
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      150. Missouri recognizes strict liability for abnormally dangerous

activities through adoption of the Restatement (Second) of Torts § 519, which

provides: “(1) One who carries on an abnormally dangerous activity is subject

to liability for harm to the person, land or chattels of another resulting from

the activity, although he has exercised the utmost care to prevent the harm.

(2) This strict liability is limited to the kind of harm, the possibility of which

makes the activity abnormally dangerous.” Bennett v. Mallinckrodt, Inc., 698

S.W.2d 854, 867 (Mo. App. E.D. 1985) (applying strict liability for radiation

damage based on the Restatement); Fletcher v. Conoco Pipe Line Co., 129

F.Supp.2d 1255, 1260 (W.D. Mo. 2001) (“Missouri courts appear to have

adopted the Restatement’s definition of strict liability—they apply the

Restatement’s list of factors to determine whether the risks of a perilous

activity outweigh the benefits, to the extent that strict liability should apply.”).

      151. “In determining whether an activity is abnormally dangerous, the

following factors are to be considered: (a) existence of a high degree of risk of

some harm to the person, land or chattels of others; (b) likelihood that the harm

that results from it will be great; (c) inability to eliminate the risk by the

exercise of reasonable care; (d) extent to which the activity is not a matter of

common usage; (e) inappropriateness of the activity to the place where it is

carried on; and (f) extent to which its value to the community is outweighed by

its dangerous attributes.” Restatement (Second) of Torts § 520.
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      152. On information and belief, the Chinese Government Defendants,

the Communist Party, and the Laboratory Defendants engaged in commercial

and other research on coronaviruses through the Wuhan Institute.

      153. On information and belief, one likely source for the origin of the

virus is through release from the Wuhan Institute, a laboratory with known

safety concerns.

      154. Research on contagious viruses is an unusual activity with a high

risk of harm, and the harm that can result from that research is great, with an

inability to eliminate the risk of harm.

      155. On information and belief, the type of research carried on at the

Wuhan Institute was inappropriate to the place where the research was

conducted, especially in light of known safety concerns at the lab.

      156. On information and belief, the community value of the activity at

the Wuhan Institute was low, but the activity was nonetheless dangerous.

      157. On information and belief, Defendants have engaged in a coverup

about the origins of the virus, including its release from the Wuhan Institute.

      158. Defendants, in violation of the common good and Missourians’ life

and health, took stepsincluding (but not limited to) censoring media, ceasing

and censoring research, destroying scientific materials, making false and

misleading statements to the international community, hoarding PPE, and
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punishing medical professionalsthat impeded the ability of the medical

community and others to stop the spread of COVID-19 and its consequences.

      159. The repeated abnormally dangerous activities of the Defendants,

as alleged herein, have been injurious to—and have significantly interfered

with—the lives, health, and safety of substantial numbers of Missouri

residents, ruining lives and damaging the public order and economy of the

State of Missouri.

      160. As a proximate result of Defendants’ conduct, the State and its

residents have suffered billionsand possibly tens of billionsof dollars in

economic damages, as well as substantial non-economic damages.

      161. The conduct of the Defendants was knowing, willful, and in

reckless disregard of the rights of the State and its residents. Defendants

demonstrated a complete indifference to or conscious disregard for the safety

of the public and their conduct was unreasonable and was reckless in light of

the known risks to them of COVID-19.

      162. Defendants have engaged in a continuing course of conduct.

Defendants’ abnormally dangerous activities—as well as the resulting harm to

the health, well-being, safety, comfort, economic interests, and rights of

Missouri and its residents—continue unabated.

      WHEREFORE, Plaintiff respectfully requests that the Court enter

judgment in favor of Plaintiff, jointly and severally against each and every
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Defendant, as follows: (a) determine that the Chinese Government Defendants,

the Communist Party, and the Laboratory Defendants engaged in abnormally

dangerous activities; (b) order that Defendants pay all civil damages and

restitution authorized by law; (c) order that all Defendants cease the

abnormally dangerous activities, reimburse the cost of the State’s abatement

efforts, and pay compensatory damages for harms caused by the abnormally

dangerous activities; (d) issue injunctive relief; (e) order that Defendants pay

punitive damages; (f) order that Defendants pay all reasonable costs

attributable to the prosecution of this civil action; (g) order that Defendants

pay prejudgment interest; and (h) order such further relief as the Court deems

just and appropriate.

                        COUNT III: BREACH OF DUTY:

                ALLOWING TRANSMISSION OF COVID-19

                           (Against All Defendants)

      163. Plaintiff repeats, restates, and incorporates by reference all

allegations in Paragraphs 1 to 162.

      164. Under Missouri law, a defendant is liable for breach of duty where

a plaintiff establishes “(1) legal duty on the part of the defendant to conform to

a certain standard of conduct to protect others against unreasonable risks; (2)

a breach of that duty; (3) a proximate cause between the conduct and the

resulting injury; and (4) actual damages to the claimant’s person or property.”
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Hoover’s Dairy, Inc. v. Mid-America Dairymen, Inc./Special Products, Inc., 700

S.W.2d 426, 431 (Mo. banc 1985).

      165. Under Missouri law, the doctrine of res ipsa loquitur “simply

allows the plaintiff who can show that the injury does not occur in the absence

of negligence to present to the jury an inference that the defendants were

negligent.” Sides v. St. Anthony’s Medical Center, 258 S.W.3d 811, 819-820

(Mo. banc 2008).

      166. The unleashing of COVID-19 on the world has caused countless

injuries to public health and economic injuries that would not have occurred in

the absence of breach of duty on the part of Defendants.

      167. Under Missouri law, the doctrine of negligence per se applies when

the standard of care is defined by legal rules, and therefore, a violation of the

legal rule constitutes a breach of the duty of care. Parr v. Breeden, 489 S.W.3d

774, 781 (Mo. banc 2016).

      168. The Chinese Government Defendants had a duty to report “all

events which may constitute a public health emergency of international

concern within its territory” within 24 hours under Article 6.1 of the

International Health Regulations, yet it failed to do so.

      169. In violation of their duties to the world, Defendants engaged in a

coverup and misleading public relations campaign, censoring scientists,

ordering the destruction and suppression of valuable research, and refusing
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cooperation with the global community, all in violation of international health

standards.

      170. The repeated breaches of duty by the Defendants, as alleged

herein, have been injurious to—and have significantly interfered with—the

lives, health, and safety of substantial numbers of Missouri residents, ruining

lives and damaging the public order and economy of the State of Missouri.

      171. As a proximate result of Defendants’ conduct, the State and its

residents have suffered billionsand possibly tens of billionsof dollars in

economic damages, as well as substantial non-economic damages.

      172. The conduct of the Defendants was knowing, willful, and in

reckless disregard of the rights of the State and its residents. Defendants

demonstrated a complete indifference to or conscious disregard for the safety

of the public and their conduct was unreasonable and was reckless in light of

the known risks to them of COVID-19.

      173. Defendants have engaged in a continuing course of conduct.

Defendants’ breach of duty and negligence—as well as the resulting harm to

the health, well-being, safety, comfort, economic interests, and rights of

Missouri and its residents—continue unabated.

      WHEREFORE, Plaintiff respectfully requests that the Court enter

judgment in favor of Plaintiff, jointly and severally against each and every

Defendant, as follows: (a) determine that the Defendants were negligent and
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breached duties owed to Missouri and Missourians; (b) order that Defendants

pay all civil damages and restitution authorized by law; (c) order that all

Defendants cease their negligence, reimburse the cost of the State’s abatement

efforts, and pay compensatory damages for harms caused by their negligence;

(d) issue injunctive relief; (e) order that Defendants pay punitive damages; (f)

order that Defendants pay all reasonable costs attributable to the prosecution

of this civil action; (g) order that Defendants pay prejudgment interest; and (h)

order such further relief as the Court deems just and appropriate.

                       COUNT IV: BREACH OF DUTY:

         HOARDING OF PERSONAL PROTECTIVE EQUIPMENT

                           (Against All Defendants)

      174. Plaintiff repeats, restates, and incorporates by reference all

allegations in Paragraphs 1 to 173.

      175. Defendants have restricted exports of PPE and allowed the export

of ineffective PPE, all while knowing (and even suppressing) the dangers of

COVID-19.

      176. Defendants had a duty not to hoard PPE and not to provide

ineffective PPE to medical providers, and doing so has caused injury across the

state of Missouri, allowing further spread of COVID-19.

      177. Defendants’ actions with respect to PPE are commercial activities.
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      178. The repeated breaches of duty by the Defendants, as alleged

herein, have been injurious toand have significantly interfered withthe

lives, health, and safety of substantial numbers of Missouri residents, ruining

lives and damaging the public order and economy of the State of Missouri.

      179. As a proximate result of Defendants’ conduct, the State and its

residents have suffered billions and possibly tens of billions of dollars in

economic damages, as well as substantial non-economic damages.

      180. The conduct of the Defendants was knowing, willful, and in

reckless disregard of the rights of the State and its residents. Defendants

demonstrated a complete indifference to or conscious disregard for the safety

of the public and their conduct was unreasonable and was reckless in light of

the known risks to them of COVID-19.

      181. Defendants have engaged in a continuing course of conduct.

Defendants’ breach of duty and negligence—as well as the resulting harm to

the health, well-being, safety, comfort, economic interests, and rights of

Missouri and its residents—continue unabated.

      WHEREFORE, Plaintiff respectfully requests that the Court enter

judgment in favor of Plaintiff, jointly and severally against each and every

Defendant, as follows: (a) determine that the Defendants were negligent and

breached duties owed to Missouri and Missourians; (b) order that Defendants

pay all civil damages and restitution authorized by law; (c) order that all
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Defendants cease their negligence, reimburse the cost of the State’s abatement

efforts, and pay compensatory damages for harms caused by their negligence;

(d) issue injunctive relief; (e) order that Defendants pay punitive damages; (f)

order that Defendants pay all reasonable costs attributable to the prosecution

of this civil action; (g) order that Defendants pay prejudgment interest; and (h)

order such further relief as the Court deems just and appropriate.

                            PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that the Court enter

judgment in favor of Plaintiff, and enter an order jointly and severally against

each and every Defendant that:

      (a)   Awards Plaintiff all restitution authorized by law;

      (b)   Enters injunctive relief;

      (c)   Awards Plaintiff all civil penalties authorized by law;

      (d)   Awards Plaintiff all actual damages authorized by law;

      (e)   Awards Plaintiff all direct and consequential damages authorized

by law;

      (f)   Order that all Defendants abate the nuisance, reimburse the cost

of the State’s abatement efforts, and pay compensatory damages and other

damages for harms caused by the nuisance;

      (g)   Order that the Chinese Government Defendants, the Communist

Party, and the Laboratory Defendants cease engaging in the abnormally
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dangerous activities, reimburse the cost of the State’s abatement efforts, and

pay compensatory and other damages for harms caused by the abnormally

dangerous activities;

      (h)   Enters punitive damages against Defendants;

      (i)   Awards Plaintiff all reasonable costs attributable to the

prosecution of this civil action authorized by law;

      (j)   Awards Plaintiff all pre-judgment interest authorized by law; and

      (k)   Awards Plaintiff such further relief as the Court deems just and

appropriate.



Dated: April 21, 2020                Respectfully submitted,

                                     ERIC S. SCHMITT
                                     ATTORNEY GENERAL

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